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                Susman Godfrey l.l.p

June 5, 2024
Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, New York 10007
               Re:     The New York Times Company v. Microsoft Corporation, et al.,
                       Case No.: 23-cv-11195-SHS
Dear Judge Stein:
       The parties have significantly narrowed their disputes regarding the proposed
Electronically Stored Information (“ESI”) Order.
   1. The Times’s Proposed ESI Order.
    The New York Times Company (“The Times”) requests the Court deny Defendants’ request
to enter Defendants’ proposed ESI Order and enter The Times’s proposed ESI Order attached
hereto as Exhibit 1. The parties disagree on only one issue: Defendants’ attempt to set a
presumptive custodian cap of 10 custodians in paragraph 4.
    The Court should reject Defendants’ limit to the number of custodians and instead adopt The
Times’s proposal, which has no presumptive custodian cap. The parties would follow the agreed-
upon protocols in paragraphs 4 and 5, which require the producing party to propose custodians
most likely to have responsive information in the first instance and the parties to negotiate in good
faith on custodians and search terms from there. See Ex. 1 ¶¶ 4-5.
     As this Court has recognized, setting a custodian cap at this stage is premature. As of this
writing, OpenAI has already identified twelve potential custodians for The Times’s first set of
fifteen Requests for Production alone. Microsoft has still not identified any custodians. And
OpenAI has produced only 43 documents, most of which are public and none of which identify
potential custodians. Microsoft produced its first document sets in the past few days, and The
Times has thus not yet had the opportunity to review them for documents identifying potential
custodians. The parties have likewise yet to complete negotiations surrounding search terms and
accompanying hit reports. Against this background, it is simply too soon to cap the number of
custodians. See United States v. Dobco Inc., No. 22-CV-9599, 2023 WL 5302371, at *9 (S.D.N.Y.
Aug. 17, 2023); Edwards v. McDermott Int’l, No. 4:18-CV-4330, 2021 WL 5121853, at *4-5 (S.D.
Tex. Nov. 4, 2021) (“it is simply too difficult at the outset of a case to make a definitive assessment
on the number of custodians”; allowing 50 custodians as a starting point.); see also E.E.O.C. v.
Hillstone Rest. Grp., No. 03-CV-108, at *4 (S.D.N.Y. Feb. 8, 2023) (“agree[ing] that it is
premature to determine limitations on production” early in discovery).
   Even if a cap were appropriate—which The Times contends is not, particularly at this stage—
Defendants’ proposed 10-custodian per party limit is unreasonable in the context of this case.
Defendants have not offered any justification for such a cap—on the contrary, OpenAI admits that
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it already has more than 10 custodians for The Times’s first set of Requests for Production. By
their own admission, Defendants “have large numbers of employees.” See No. 23-cv-08292, Dkt.
140 at 2. OpenAI also comprises at least eight different entities. The appropriate number of
custodians for each party will necessarily vary based on each entity’s internal workings, each
custodian’s unique knowledge, and the discovery requests themselves. See, e.g., Fort Worth
Employees’ Retirement Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99, 106 (S.D.N.Y. 2013)
(ordering the defendants to produce responsive documents from 48 custodians identified in
defendants’ documents as likely to have relevant, unique evidence); In re Morgan Stanley
Mortgage Pass-Through Certificates Litig., 2013 WL 4838796, at *2 (S.D.N.Y. Sep. 11, 2013)
(ordering discovery from 34 defendant custodians based on each custodian’s role in the events at
issue); see also No. 23-cv-08292, Dkt. 140 at 3 (Defendants admitting in the consolidated class
case that custodians should be selected based on their degree of relevant knowledge).
    Defendants’ caselaw supports The Times’s position. In Lightsquared, Inc. v. Deere & Co.,
2015 WL 8675377, at *5-6 (S.D.N.Y. Dec. 10, 2015), the Court ordered the producing party to
identify custodians in possession of relevant documents and the parties to negotiate a joint
discovery plan from there. The parties have already agreed to follow the similar approach in
paragraphs 4 and 5 of the proposed ESI Order. In Hyles v. New York City, 2016 WL 4077114, at
*1 (S.D.N.Y. Aug. 1, 2016), the parties disagreed on whether the defendant had to search files of
9 or 15 custodians. The Court held that if after reviewing the files of the first 9 custodians, the
plaintiff could demonstrate that the other custodians “had relevant, unique, and proportional ESI,”
the Court would order targeted searches of those custodians’ files too. The Hyles court did not set
a presumptive cap on the number of custodians at the outset or in the abstract—it ruled that after
defendants produced responsive documents, if the parties still disagreed on the number of
custodians, the plaintiff could move to compel searches from others. Id. The Times proposes a
similar process of identifying and negotiating the appropriate number of custodians in good faith
as each party produces responsive documents, then seeking Court intervention if the parties reach
an impasse. See Ex. 1 ¶¶ 4-5.
    The Times is entitled to discovery into any nonprivileged material relevant to and proportional
to the needs of this case. Fed. R. Civ. P. 26(b)(1). There is no legal or logical reason to limit
discovery to a narrow subset of unidentified custodians in the abstract, especially when The Times
would be forced to enter this agreement blind because Microsoft has thus far not identified
custodians itself or produced documents The Times could use to identify their custodians. See
Dobco, 2023 WL 5302371, at *5 (“Without such discussions, arguments about relevance and
burden are speculative at best.”). OpenAI has already identified twelve custodians—before it has
even produced documents through which The Times will adduce which additional custodians are
necessary.
   2. Defendants’ Proposed ESI Order.
Defendants collectively request that the Court deny the New York Times’s letter motion requesting
the entry of its proposed ESI Order, and enter Defendants’ proposed ESI Order attached as Exhibit
A.
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The ESI Order Should Contain a Cap on Custodians
Since the parties last briefed this issue on May 3 (see Dkt. Nos. 110, 113), the parties have met
and conferred and come to an agreement on every issue except one: whether there should be a
presumptive, but not unchangeable, cap on custodians.
Defendants’ proposal includes an initial presumptive—but not absolute—cap on the number of
custodians of ten (10) custodians per party, with additional custodians to be added upon a showing
of good cause. This proposal aligns with, among others, Judge Schofield’s standing order on E-
Discovery. Judge Lorna G. Schofield, United States District Judge for the Southern District of
New York, Individual Rules and Procedures for Civil Cases § (II)(A)(1)(a) (limiting requests for
ESI to “10 key custodians” absent “an order of the Court upon a showing of good cause or
stipulation by the parties”). It is also common in ESI orders in other jurisdictions. 1 In contrast,
Plaintiff’s proposed ESI Order offers no presumptive cap on the number of persons for custodial
ESI collection. This is unreasonable.
A presumptive cap of ten custodians is reasonable and appropriate in this case. Consistent with
their obligations under the Federal Rules, Defendants have undertaken significant efforts to
identify the custodians most likely to have relevant, discoverable information. If there is good
reason to believe that an additional custodian would have unique and relevant information,
Defendants’ proposal would allow for the addition of that custodian (even beyond the 10-custodian
limit) where appropriate. 2 But having no cap at all is likely to merely generate unnecessarily
burdensome and duplicative discovery, at great cost to the parties.
Notably, Plaintiff has not identified a single case where the court failed to impose a cap on
custodians absent a stipulation by the parties. United States v. Dobco Inc. does not address
custodians and instead orders the parties to continue to meet and confer on the terms of the ESI
order. No. 22-CV-9599, 2023 WL 5302371, at *5 (S.D.N.Y. Aug. 17, 2023). In E.E.O.C. v.
Hillstone Restaurant Group, the parties agreed that they were unprepared to determine limitations
on discovery at that time and so stipulated to the court. Joint Elec. Disc. Submission No. 1 and
Order, No. 22-CV-3108 (JLR) (RWL) (S.D.N.Y. Feb. 8, 2023), Dkt. No. 22 at 3-4. The court
merely entered the parties’ proposed joint order. Id. And again, in Edwards v. McDermott
International, defendants agreed that it would be appropriate to search 40 custodians, while
plaintiffs proposed 72. No. 4:18-CV-4330, 2021 WL 5121853, at *4-5 (S.D. Tex. Nov. 4, 2021).
The court ordered a compromise of 50, all the while noting that email collection was particularly
important “to unlocking the truth in securities fraud cases.” Id. at 2 (emphasis added). Plaintiff’s
other two cases—Forth Worth and In re Morgan Stanley—are also securities actions. This is not a

1
  See, e.g., Ex. B (N.D. Cal. Model Patent ESI Order requiring parties to limit “email production requests to . . . five
custodians”); Ex. C (D. Del. Model ESI Order providing that “each party shall disclose . . . 10 custodians”).
2
  Indeed, OpenAI has already identified more than 10 custodians, because OpenAI recognizes that where there is
good cause to add a custodian, it will do so. This does not suggest that Plaintiff needs an unlimited number of
custodians; instead, it demonstrates OpenAI’s reasonableness.
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securities fraud case. Nor has Plaintiff articulated any reason why suits alleging copyright
infringement and DMCA claims require similarly high numbers of custodians. None of Plaintiff’s
cited cases support its position that it should be allowed an unlimited number of custodians.
Furthermore, at this time, there is no reason to believe Defendants’ proposal is unreasonable.
Plaintiff argues that “OpenAI [] comprises at least eight different entities,” but Plaintiff hasn’t
shown that any of them—other than OpenAI OpCo—was actually involved in any of the
challenged conduct. Microsoft is a large corporation, but that cuts in favor of a cap, not against
it; it suggests that absent a cap, Plaintiff will seek largely duplicative and burdensome discovery.
3
    And if there proves to be good cause to add a custodian, Defendants’ ESI proposal allows
Plaintiff to seek that discovery. Here, Plaintiff effectively requests carte blanche ability to seek
electronic discovery from an unlimited number of custodians, regardless of whether those
documents will be duplicative of those already produced, or the burdens it will impose. This is
neither reasonable nor proportional to the needs of this case. See Lightsquared Inc. v. Deere &
Co., No. 13CIV8157 (RMB) (JCF), 2015 WL 8675377, at *5 (S.D.N.Y. Dec. 10, 2015) (“[A] party
seeking to compel another party to search the files of additional custodians bears the burden of
establishing the relevance of the documents it seeks from those custodians . . . . [Plaintiffs’]
unsupported assertions concerning the individuals it has identified are not enough.” (internal
citation omitted)); Hyles v. New York City, 10 Civ. 3119 (AT)(AJP), 2016 WL 4077114, at *1
(S.D.N.Y. Aug. 1, 2016) (limiting Plaintiffs to search the files of nine custodians unless and until
Plaintiffs could demonstrate that the six additional custodians from whom they sought discovery
“had relevant, unique and proportional ESI”).
Inclusion of a custodian cap also encourages the parties to prioritize and be efficient in their
collection and review of documents. Without a cap, the parties are encouraged to make an endless
number of requests for custodians and keywords without any effective limit other than seeking a
protective order.
In sum, Defendants’ proposal reflects reasonable limits designed to capture relevant, discoverable
information without undue burden, but allows for flexibility where appropriate. ESI discovery
does not require perfection. Id. at *3 (stating that “the standard [in ESI discovery] is not perfection
. . . , but whether the search results are reasonable and proportional”)). Instead, Plaintiff has a right
to request that Defendants perform a reasonably diligent search for responsive documents that is
proportional to the needs of the case, which is what Defendants propose by placing a presumptive,
but not firm, limit on the number of ESI custodians in this case.



3
  Plaintiff also suggests that setting a custodian cap is premature given the status of document production, and
represents that Microsoft has not produced documents in this case. This is incorrect, as Microsoft has now made
multiple productions totaling more than 6,500 documents (with custodian metadata for custodial documents) as part
of its continuing rolling production in this case. And contrary to Plaintiff’s representation, these productions do contain
organizational charts and other documents that identify Microsoft custodians in this case.
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For these reasons, Defendants respectfully request that the Court enter their ESI Order, attached
hereto as Exhibit A.

                                            Respectfully submitted,

                                            /s/ Ian B. Crosby
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                                            Susman Godfrey L.L.P.

                                            /s/ Steven Lieberman
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 cc:   All Counsel of Record (via ECF)

Enclosure
